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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION
DIDIER ADRIAN GOMEZ-ESTUPINAN,


v.                                     Case No. 8:04-cr-84-T-24TGW
                                                8:05-cv-1982-T-24TGW

UNITED STATES OF AMERICA.


                                        ORDER

       This cause is before the Court on Defendant's 28 U.S.C. § 2255 motion to vacate,

set aside, or correct an allegedly illegal sentence (Doc. cv-1; cr-311).

                                     BACKGROUND

       On May 28, 2004, Defendant pled guilty to count one of a two-count Indictment

pursuant to a written plea agreement that contained a waiver of appeal. The waiver states:

              The defendant understands and acknowledges that defendant's
       sentence will be determined and imposed in conformance with the
       Comprehensive Crime Control Act of 1984 and the federal sentencing
       guidelines. Defendant is also aware that a sentence imposed under the
       sentencing guidelines does not provide for parole. Knowing these facts, the
       defendant agrees that this Court has jurisdiction and authority to impose any
       sentence up to the statutory maximum set forth for the offense and pursuant
       to the sentencing guidelines and expressly waives the right to appeal
       defendant's sentence, directly or collaterally, on any ground, except for an
       upward departure by the sentencing judge or a sentence above the statutory
       maximum or a sentence in violation of the law apart from the sentencing
       guidelines; provided, however, that if the government exercises its right to
       appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), the
       defendant is released from this waiver and may appeal the sentence as
       authorized by 18 U.S.C. § 3742(a).

(Plea Agreement, Doc. cr-90, p. 11, ¶ 5).

       Count one charged that from an unknown date through on or about February 27,

2004, while on board a vessel subject to the jurisdiction of the United States, the
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Defendants:

               each of whom was first brought into the United States at a point in the
       Middle District of Florida, did knowingly and willfully conspire and agree,
       together and with other persons both known and unknown to the grand jury,
       to distribute five (5) kilograms or more of mixture or substance containing a
       detectable amount of cocaine, a schedule II controlled substance, contrary
       to the provisions of Title 46, Appendix, United States Code, Section 1903(a).

              All in violation of Title 46, Appendix, United States Code, Section
       1903(j); Title 46 Appendix United States Code, Section 1903(g); and Title 21
       United States Code, Section 960(b)(1)(B)(ii).

(Doc. cr-1).

       On August 31, 2004, the Court sentenced Defendant to 135 months incarceration.

Count two of the Indictment was dismissed on the Government's motion. Judgment was

entered. (Doc. cr-161). The Court granted the Government's motion for reduction of

Defendant's sentence for timely notification of intent to enter a plea of guilty. (Doc. cr-160).

       On September 2, 2004, Defendant filed a Notice of Appeal. On May 12, 2005, the

United States Court of Appeals for the Eleventh Circuit dismissed the appeal. (Doc. cr-291).

The Eleventh Circuit found that the Defendant knowingly and voluntarily waived his right

to appeal his sentence on the ground he asserted in the appeal.

       On October 13, 2005, Defendant signed the present timely-filed motion to vacate,

set aside, or correct the his allegedly illegal sentence. Defendant raises one ground for

relief. Defendant alleges that counsel was ineffective for failing to urge "upon this Court to

apply safety valve" in his case.

       In his memorandum in support of the motion to vacate, Defendant alleges

       Because it is undisputable that Petitioner qualified for the safety valve;
       undisputable that counsel failed to urge such relief upon this Court at
       sentencing; undisputable that Petitioner waived his right to request this relief
       at sentencing, Petitioner's sentence must be vacated due to counsel's

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       ineffectiveness. A resentencing, with a more competent counsel, must be
       ordered under the circumstances.

(Doc. cv-2, p. 2; cr-312, p. 2).

       Ground one has no merit for two reasons. First, the Court did apply the safety valve.

(Doc. cr-230, pp. 12-13). Second, in Williams v. United States, 396 F.3d 1340 (11th Cir.

2005), the Eleventh Circuit considered an appeal waiver containing the same language as

that contained in Defendant's appeal waiver. Having considered the language in Williams'

waiver, the Eleventh Circuit held that a valid sentence appeal waiver, "entered into

voluntarily and knowingly pursuant to a plea agreement, precluded movant from attempting

to attack, in a collateral proceeding, the sentence through a claim of ineffective assistance

of counsel during sentencing." Williams, 396 F.3d at 1341-1342.

       In his section 2255 motion, Defendant does not allege that his plea was not

knowingly and voluntarily entered. Therefore, his claim in ground one fails under the

holding in Williams.

       Accordingly, the Court orders:

       That Defendant's motion to vacate (Doc. cv-1; cr-311) is denied, with prejudice. The

Clerk is directed to enter judgment against Defendant Gomez-Estupinan in the civil case

and to close that case.

       ORDERED at Tampa, Florida, on October 28, 2005.




AUSA: Anthony Edward Porcelli
Pro se: Didier Adrian Gomez-Estupinan



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